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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division

 BMG RIGHTS MANAGEMENT                         )
 (US) LLC and ROUND HILL                       )
 MUSIC LP                                      )
                                               )
                Plaintiffs,                    )
                                               )
        v.                                     )      Case No. 1:14-cv-1611(LO/JFA)
                                               )
 COX COMMUNICATIONS, INC. and                  )
 COXCOM, LLC                                   )
                                               )
                Defendants.                    )
                                               )

                 PLAINTIFFS’ MOTION IN LIMINE NO. 2 TO EXCLUDE
                 IRRELEVANT INFORMATION ABOUT RIGHTSCORP’S
                    ALLEGED SPOLIATION OF ITS SOURCE CODE

        Pursuant to Federal Rules of Evidence 402 and 403, BMG Rights Management (US)

 LLC (“BMG”) hereby moves for an order prohibiting Defendants Cox Communications, Inc. and

 CoxCom, LLC (collectively “Cox” or “Defendants”) from referencing any alleged spoliation of

 Rightscorp’s source code. An accompanying memorandum of law has been filed in support of

 this motion.

        For the reasons set forth in the accompanying Memorandum in Support, the Court should

 grant the Motion.

                              Local Rule 7(E) Meet and Confer Statement

        On July 18, 2018, BMG and Cox met and conferred and were unable to agree on the

 issues raised in this motion. Accordingly, the parties need the Court’s intervention.
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 July 20, 2018

                                    Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 20, 2018, I electronically filed a true and correct copy of the

 foregoing using the Court’s CM/ECF system, which then sent a notification of such filing (NEF)

 to all counsel of record:

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